                      Case 15-22049                              Doc 1                 Filed 06/26/15 Entered 06/26/15 07:15:37                                                              Desc Main
B1 (Official Form 1) (4/13)                                                              Document     Page 1 of 36
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          NORTHERN DISTRICT OF ILLINOIS
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Hernandez, Angel
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   8988                                                                                (if more than one, state all):
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  4014 Grove Avenue
  Brookfield, IL
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               60513
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Cook                                                                 Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                  Case 15-22049                   Doc 1           Filed 06/26/15 Entered 06/26/15 07:15:37                                                   Desc Main
B1 (Official Form 1) (4/13)                                         Document     Page 2 of 36                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Angel Hernandez
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 ILLINOIS NORTHERN                                                                   14-10609                                                     March 24, 2014
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Jeff Whitehead                                                            06/26/2015
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (4/13)                                        Document     Page 3 of 36                                                         FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Angel Hernandez
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Angel Hernandez
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     06/26/2015                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Jeff Whitehead                                                           I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Jeff Whitehead
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Law Office of Jeff Whitehead                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     105 West Madison Street                                                    or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     Suite 900
     Chicago, IL                      60602
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     312-648-0473
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     06/26/2015                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                 Case 15-22049
B 1D (Official Form 1, Exhibit D) (12/09)     Doc 1        Filed 06/26/15 Entered 06/26/15 07:15:37                                    Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re Angel Hernandez                                                                                                     Case No.
                                                                                                                                          (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
                  Case 15-22049
 B 1D (Official Form 1, Exhibit D) (12/09)      Doc 1        Filed 06/26/15 Entered 06/26/15 07:15:37                                     Desc Main
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               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Angel Hernandez
                                    Date:    06/26/2015
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B6 Summary (Official Form 6 - Summary) (12/14)   Doc 1       Filed 06/26/15 Entered 06/26/15 07:15:37                                  Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION
   In re Angel Hernandez                                                                                                     Case No.
                                                                                                                             Chapter 13


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $              285,000.00

 B-Personal Property
                                             Yes                3        $                 2,200.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                          $              187,228.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                2                                          $              21,250.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                1                                          $                       0.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                4,071.17

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                3,229.00

                                  TOTAL                       13         $              287,200.00 $                    208,478.00
                   Case 15-22049
B6 Summary (Official Form 6 - Summary) (12/14)   Doc 1            Filed 06/26/15 Entered 06/26/15 07:15:37                              Desc Main
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                                               UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION
   In re Angel Hernandez                                                                                                      Case No.
                                                                                                                              Chapter 13



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   21,250.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $   0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   21,250.00

 State the following:


   Average Income (from Schedule I, Line 12)                                                                          $   4,071.17
   Average Expenses (from Schedule J, Line 22)                                                                        $   3,229.00
   Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1 Line 14)                     $   5,278.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   21,250.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   0.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   0.00
                   Case 15-22049
FORM B6A (Official Form 6A) (12/07)         Doc 1     Filed 06/26/15 Entered 06/26/15 07:15:37                             Desc Main
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In re Angel Hernandez                                                                            ,                Case No.
                                      Debtor(s)                                                                                                (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


Residence    (SFH)    at   4014                      Grove, Fee Simple                                              $285,000.00           $187,228.00
Brookfield, IL 60513
Purchased in 2000 for $360,000.00




No continuation sheets attached                                                            TOTAL $                 285,000.00
                                                                    (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)                          Doc 1   Filed 06/26/15 Entered 06/26/15 07:15:37                             Desc Main
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In re Angel Hernandez                                                                                     ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                        Cash on Hand                                                                                         $100.00
                                                        Location: In debtor's possession


2. Checking, savings or other financial             X
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,         X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                     Basic Used Household Furnishings                                                                 $1,000.00
   including audio, video, and computer
   equipment.                                           Location: In debtor's possession


5. Books, pictures and other art objects,           X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                     Basic Used Wearing Apparel                                                                       $1,000.00
                                                        Location: In debtor's possession


7. Furs and jewelry.                                    Costume Jewelry                                                                                      $100.00
                                                        Location: In debtor's possession


8. Firearms and sports, photographic, and           X
   other hobby equipment.

9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.


Page       1     of      3
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In re Angel Hernandez                                                                                   ,     Case No.
                                                   Debtor(s)                                                                                 (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                     N            Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                    o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                    n                                                                        Secured Claim or
                                                                                                                 Joint--J
                                                    e                                                       Community--C         Exemption

   (File separately the record(s) of any such
   interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.

25. Automobiles, trucks, trailers and other         X
    vehicles and accessories.

26. Boats, motors, and accessories.                 X

27. Aircraft and accessories.                       X

28. Office equipment, furnishings, and              X
    supplies.




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In re Angel Hernandez                                                                              ,              Case No.
                                              Debtor(s)                                                                                              (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                         Current
                 Type of Property              N            Description and Location of Property                                          Value
                                                                                                                                    of Debtor's Interest,
                                               o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W          Deducting any
                                               n                                                                                     Secured Claim or
                                                                                                                     Joint--J
                                               e                                                                Community--C             Exemption

29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       3      of   3                                                                                     Total                            $2,200.00
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
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In re
        Angel Hernandez                                                                        ,                  Case No.
                                       Debtor(s)                                                                                                   (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


Residence at 4014 Grove                             735 ILCS 5/12-901                                         $ 15,000.00              $ 285,000.00

Cash on Hand                                        735 ILCS 5/12-1001(b)                                          $ 100.00                     $ 100.00

Basic Used Household                                735 ILCS 5/12-1001(b)                                       $ 1,000.00                $ 1,000.00
Furnishings

Basic Used Wearing Apparel                          735 ILCS 5/12-1001(a)                                       $ 1,000.00                $ 1,000.00

Costume Jewelry                                     735 ILCS 5/12-1001(a)                                          $ 100.00                     $ 100.00




    Page No.      1 of       1

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re Angel Hernandez                                                                               ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:   1033                                 X            6/2003 - 3/2014                                                         $ 187,228.00                               $ 0.00
                                                                Mortgage
Creditor # : 1                                                  Residence at 4014 Grove
US Bank Home Mortgage
4801 Frederica Street
Owensboro KY 42301


                                                                 Value:   $ 285,000.00
Account No:   1033
                                                                 Codilis and Associates
Representing:                                                    15W030 North Frontage Rd
                                                                 Willowbrook IL 60527
US Bank Home Mortgage


                                                                 Value:

No continuation sheets attached                                                                                Subtotal $               $ 187,228.00                                $ 0.00
                                                                                                            (Total of this page)
                                                                                                                     Total $            $ 187,228.00                                $ 0.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re Angel Hernandez                                                                                    ,                             Case No.
                                            Debtor(s)                                                                                                       (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      1 No continuation sheets attached
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In re Angel Hernandez                                                                                                         ,                             Case No.
                                             Debtor(s)                                                                                                                             (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                             (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:              Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                        Date Claim was Incurred and                                              Amount of      Amount       Amount not
                                                                               Consideration for Claim                                                 Claim        Entitled to   Entitled to
               Including ZIP Code,                                                                                                                                   Priority      Priority,




                                                                                                                                      Unliquidated
                                                                                                                                      Contingent
              and Account Number

                                                         Co-Debtor
                                                                                                                                                                                    if any




                                                                                                                                      Disputed
                                                                     H--Husband
              (See instructions above.)                              W--Wife
                                                                     J--Joint
                                                                     C--Community

Account No:
       8988                                                            1/2005 - 3/2010                                                               $ 19,050.00 $ 19,050.00           $ 0.00
Creditor # : 1                                                         Ill Business Taxes
IDOR
PO Box 19035
Springfield IL 62794-9035




Account No: 1651                                                       2005 to 2010                                                                   $ 2,200.00 $ 2,200.00            $ 0.00
Creditor # : 2                                                         Income Tax
Internal Revenue Service                                               Income Taxes
PO Box 7346
Philadelphia PA 19101-7346




Account No:

Representing:                                                          United States Attorney
Internal Revenue Service                                               219 South Dearborn Street
                                                                       Chicago IL 60604




Account No:




Account No:




Sheet No.                                                                                                                         Subtotal $           21,250.00    21,250.00            0.00
               1 of         1      continuation sheets                                                                      (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                            Total $
                                                                       (Use only on last page of the com pleted Schedule E. Report total also          21,250.00
                                                                                                                 on Sum m ary of Schedules)

                                                                                                                                     Total $
                                                                          (Use only on last page of the com pleted Schedule E. If applicable,                       21,250.00            0.00
                                                                            report also on the Statistical Sum m ary of Certain Liabilities and
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In re Angel Hernandez                                                                                             ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:




Account No:




Account No:




No continuation sheets attached                                                                                                                     Subtotal $                                             $ 0.00
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                            $ 0.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Angel Hernandez                                                                                          / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
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 Fill in this information to identify your case:

                     Angel Hernandez
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name

                                           NORTHERN
  United States Bankruptcy Court for the: ________________              ILLINOIS
                                                           District of ______________________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing post-petition
                                                                                                        chapter 13 income as of the following date:
                                                                                                        ________________
Official Form %6I                                                                                      MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔
    information about additional         Employment status             Employed                                         Employed
    employers.                                                         Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________            __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.           2028.00                3250.00
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                            3.            0.00
                                                                                            + $___________        +           0.00
                                                                                                                      $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.           2028.00
                                                                                                $__________                3250.00
                                                                                                                      $____________



Official Form %6I                                              Schedule I: Your Income                                                       page 1
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                  Angel Hernandez
                                                                       Document     Page 19 of 36
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.         2028.00
                                                                                                                         $___________                  3250.00
                                                                                                                                                 $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.           556.83
                                                                                                                        $____________                   650.00
                                                                                                                                                 $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5d. Required repayments of retirement fund loans                                                           5d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5e. Insurance                                                                                              5e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5f. Domestic support obligations                                                                           5f.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
                                                                                                                                0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5g. Union dues                                                                                             5g.
     5h. Other deductions. Specify: __________________________________                                          5h.              0.00
                                                                                                                       + $____________       +             0.00
                                                                                                                                                 $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.           556.83
                                                                                                                        $____________                   650.00
                                                                                                                                                 $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.         1471.17
                                                                                                                        $____________                  2600.00
                                                                                                                                                 $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                      0.00
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8e. Social Security                                                                                        8e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                 0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                           8g.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________
                                                                                                                                 0.00                   0.00
                                                                                                                                             + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                          1,471.17                                  4071.17
                                                                                                                        $___________     +            2,600.00 = $_____________
                                                                                                                                                 $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.               0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             4071.17
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


Official Form %6I                                                                Schedule I: Your Income                                                                 page 2
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  Fill in this information to identify your case:

  Debtor 1           Angel Hernandez
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                      Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                      An amended filing
                                         NORTHERN                       ILLINOIS
                                                                                                      A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the:___________________District of___________________
                                                                                                         expenses as of the following date:
                                                                                                         ________________
  Case number         ___________________________________________                                        MM / DD / YYYY
  (If known)
                                                                                                      A separate filing for Debtor 2 because Debtor 2
                                                                                                         maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            ✔   Yes. Fill out this information for Debtor 1 or Debtor 2                    age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                                     Son                     10years          No
                                                                                         _________________________         ________
   names.                                                                                                                                    Yes
                                                                                             Son
                                                                                  _________________________                 18years
                                                                                                                           ________          No
                                                                                                                                             Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

3. Do your expenses include                 ✔
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                          1867.00
                                                                                                                             $_____________________
     any rent for the ground or lot.                                                                                 4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                        4a.
                                                                                                                                              0.00
                                                                                                                             $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                             4b.
                                                                                                                                              0.00
                                                                                                                             $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                            4c.                      0.00
                                                                                                                             $_____________________
     4d.    Homeowner’s association or condominium dues                                                              4d.                      0.00
                                                                                                                             $_____________________

Official Form %6J                                            Schedule J: Your Expenses                                                         page 1
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                  Angel Hernandez
 Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.
                                                                                                                                    110.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                    29.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                   110.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.                     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.                    370.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.                     50.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                     50.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.                    25.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.                   100.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                                    325.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.
                                                                                                                                     50.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.                    25.00
                                                                                                                     $_____________________

15.   Insurance.                                                                                                                                    1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                  118.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.                    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                     $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                    0.00
      Specify:_______________________________________________________                                                $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20a. Mortgages on other property                                                                        20a.

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                      0.00
                                                                                                                     $_____________________
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20d. Maintenance, repair, and upkeep expenses                                                           20d.

      20e. Homeowner’s association or condominium dues                                                        20e.                    0.00
                                                                                                                     $_____________________



 Official Form %6J                                            Schedule J: Your Expenses                                                   page 2
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                  Angel Hernandez
 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.                    0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                3229.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                      4071.17
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                  3229.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                       842.17
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




 Official Form %6J                                           Schedule J: Your Expenses                                                       page 3
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re: Angel Hernandez                                                                                    ,           Case No.
                                               Debtor                                                                                      (if known)




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date:$15,900.00                                  Income from Employment
2014: $24,710.00
2013: $30,400.00


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




                                                                                                                   Statement of Affairs - Page 1
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       3. Payments to creditors
None   Complete a. or b., as appropriate, and c.

       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
       creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
       filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)




None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
       commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
       an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
       must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
       were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                             NATURE OF                                     COURT OR AGENCY
AND CASE NUMBER                             PROCEEDING                                      AND LOCATION                                 STATUS OR DISPOSITION

Discover Bank v                             Breach of Contract                            Circuit Court of                               Judgment entered.
Angel Hernandez;                                                                          Cook County
11 M1 149733


Advanceme Inc v                             Breach of Contract                            Circuit Court of                               Judgment
Angel Hernandez;                                                                          Cook County
11 L 006788


US Bank v Angel                             Foreclosure                                   Circuit Court of                               Judgment entered
Hernandez;                                                                                Cook County
10 CH 49784


Chase Bank v Angel                          Foreclosure                                   Circuit Court of                               Pending
Hernandez;                                                                                Cook County
12 CH 044438


Forest Building v                           Breach of Contract                            Circuit Court of                               Judgment entered
Angel Hernandez;                                                                          Cook County
10 M1 700333



                                                                                                                       Statement of Affairs - Page 2
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CAPTION OF SUIT                           NATURE OF                                    COURT OR AGENCY
AND CASE NUMBER                           PROCEEDING                                     AND LOCATION                                STATUS OR DISPOSITION

McKenzie Banking                          Mortgage                                     Cook County Circuit                           Judgment entered.
Company vs.                               Foreclosure                                  Court
Hernandez et al; 12
CH 19294


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF PERSON FOR                                           DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                        SEIZURE                    DESCRIPTION AND VALUE OF PROPERTY

Name: IDOR                                                               2014                       Description: Wages
Address: PO Box 19035                                                                               Value: $500.00
Springfield, IL 62794-9035


       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
       family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
       (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
        this case.


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       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
       or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
       of which the debtor is a benificiary.




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
       within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
       other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
       period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
       New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
       the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




                                                                                                                    Statement of Affairs - Page 4
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       17. Environmental Information
None   For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
       cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
       debtor,
       including, but not limited to disposal sites.

       "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
       similar termunder an Environmental Law:

       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
       under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
       governmental unit to which the notice was sent and the date of the notice.




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
       party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
       businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
       self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
       all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
       commencment of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
       all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
       commencment of this case.


                                     LAST FOUR DIGITS OF                                                                                              BEGINNING AND
NAME                                 SOCIAL-SECURITY OR                      ADDRESS                                 NATURE OF BUSINESS               ENDING DATES
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.
                                     (ITIN)/ COMPLETE EIN


Fonda Del Mar,                       ID:8988                                 4014 Grove                              Resturant                        7/28/2005 -
Inc.                                                                         Avenue                                                                   12/10/2010
                                                                             Brookfield, IL
                                                                             60513


None   b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




                                                                                                                             Statement of Affairs - Page 5
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            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.




 None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




 None    c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
         any of the books of account and records are not available, explain.




 None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
         within two years immediately preceding the commencement of this case.




         20. Inventories
 None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
         amount and basis of each inventory.




 None    b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




         21. Current Partners, Officers, Directors and Shareholders
 None    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




                                                                                                                              Statement of Affairs - Page 6
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None     b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
         percent or more of the voting or equity securities of the corporation.




         22. Former partners, officers, directors and shareholders
None     a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None     b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
         commencement of this case.




         23. Withdrawals from a partnership or distribution by a corporation
None     If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
         loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
         of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   06/26/2015                          Signature       /s/ Angel Hernandez
                                                  of Debtor


                                                  Signature
       Date
                                                  of Joint Debtor
                                                  (if any)




                                                                                                                        Statement of Affairs - Page 7
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    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




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                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
        Angel Hernandez                                                                             Case No.
In re
                                                                                                    Chapter 13
                                                                                         / Debtor
        Attorney for Debtor:   Jeff Whitehead

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           4,000.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                      0.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $               4,000.00

3. $             281.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 06/26/2015                              Respectfully submitted,


                                              X /s/ Jeff Whitehead
                        Attorney for Petitioner: Jeff Whitehead
                                                 Law Office of Jeff Whitehead
                                                 105 West Madison Street
                                                 Suite 900
                                                 Chicago IL 60602
                                                 312-648-0473
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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


In re Angel Hernandez                                                                     Case No.
                                                                                          Chapter 13
                                                                            / Debtor
    Attorney for Debtor:   Jeff Whitehead



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 06/26/2015                                                   /s/ Angel Hernandez
                                                                   Debtor
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                  Codilis and Associates
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                  15W030 North Frontage Rd
                  Willowbrook, IL 60527

                  Fonda Del Mar

                  Angel Hernandez
                  4014 Grove Avenue
                  Brookfield, IL 60513

                  IDOR
                  PO Box 19035
                  Springfield, IL    62794-9035

                  Internal Revenue Service
                  PO Box 7346
                  Philadelphia, PA 19101-7346

                  Jeff Whitehead
                  105 West Madison Street
                  Suite 900
                  Chicago, IL 60602

                  Nora Mendez
                  4014 Grove Avenue
                  Brookfield, IL 60513

                  United States Attorney
                  219 South Dearborn Street
                  Chicago, IL 60604

                  US Bank Home Mortgage
                  4801 Frederica Street
                  Owensboro, KY 42301

                  Wilbur Tseng
                  401 East Ontario Street
                  Chicago, IL 60611
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                       NOTICE TO CONSUMER DEBTORS
               ON INFORMATION REQUIRED IN BANKRUPTCY CASES
                         (Pursuant to 11 U.S.C. 527(a)(2))

The bankruptcy code requires you to provide complete and accurate information about your
debts, property and financial affairs. We take this requirement very seriously. We want you to
understand these requirements clearly.

     (A)     All information that you are required to provide with a bankruptcy petition and
             thereafter during your bankruptcy case is required to be complete, accurate and
             truthful.

     (B)     In the documents you have me file with the court to commence your
             bankruptcy case and thereafter, you must completely and accurately disclose
             all your assets and all of your liabilities. You must provide the replacement
             value without deducting the costs of sale or marketing as of the date you file of
             each item of personal property (property other than real estate) that is subject
             to a lien or security interest. You must make a reasonable inquiry to establish
             this value. If you acquired the property primarily for personal, family or
             household purposes, “replacement value” means the price a retail merchant
             would charge for an item of that kind given the age and condition of the item at
             the time you file.

     (C)     You must accurately provide after reasonable inquiry, your current monthly
             income, the amounts specified in 11 U.S.C. § 707(b)(2) and in a case under
             Chapter 13, disposable income (determined in accordance with § 707 (b)(2)).

     (D)     Information you provide during your case may be audited pursuant to the
             Bankruptcy Code. Failure to provide accurate information may result in
             dismissal of your case or other sanction including a criminal sanction.

I have received a copy of this notice
/s/ Angel Hernandez
_____________________________             ___________        4014 Grove Avenue    Brookfield, IL 60513
                                                             ___________________________________
Signature of Assisted Person                Date                          Address
Angel Hernandez                                              Brookfield, IL 60513
________________________________                             ___________________________________
Printed Name of Assisted Person                                      City, State, Zip

8988
________________________________
Last 4 Digits of Social Security Number
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                              UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
